                 Case 6:09-cr-00048-LGW-CLR Document 1137 Filed 07/07/15 Page 1 of 1
                                            Reducnon
AO247(i0./11) OrderResddingMolionior Sentence      Prrsua,tto 18U S C $1582(cX2)                                     Pase1 of2 (Page: Not tbr PublicDrsclosure)

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                                                          UNITEDSTATESDISTRICTCOURT                                tJ.s.0r$TRtcT
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                                                             SouthernDistrict of Georgia
                                                                Statesboro Division                                ?ll5JUL-7 Ptt3; l0

                   United Statesof America
                             v.
                                                                            C a s e N o :6 ; 0 9 C R 0 0 0 . 1 8 - 1 8
                        RobertDavidRock
                                                                            USMNoi 14244-021
DateofOriginalJudgnent:      October8, 2010                                 Tina Eusinia Maddox
DateofPreviousAmended Judgment:
                             Mav 26.2015                                    Defendant'sAttorney
(UseDate of Last AmendedJudgment,if any)

             Amended Order Regarding Motion for SentenceReduction Pursuant to l8 U.S,C.$ 3582(cX2)
             Reasonfor Amendment: [X] Correction of Sentencefor Clerical Mistake (Fed.R,Crim.P.36)



       Upon rnotionof lTlthe defendant!the Directorof the Bureauof Prisonsl-lthe coufi under 18 U.S.C.
$ 3582(c)(2) for a reduction in the term of imprisonmentimposedbasedon a guideline sentencingrangethat has
subsequently  beenloweredandmaderetroactiveby the United StatesSentencing      Commissionpursuantto 28 U.S.C.
g 99a(u), and having consideredsuch motion, and taking into accountthe policy statementset forth at USSG $ I B I . 10 and
the sentencingfactorssetfofth in 18 U.S.C.5 3553(a),to the extentthat they are applicable,

IT IS ORDERED that the motion rs:
                                                                                              inthetastiudsnent
                         and the defendant'spreviously imposedsentenceof imprisonmenthsrclectett
 ! OeNtnO, fl Cn,tNfel
              issuetl
                    of  70     monthsis reduced to                        time served


                                               (CompleteParts I qnd ll of Page ? when wotion is grqnted)




Except as otherwiseprovided above,all provisions ofthejudgment dated
IT IS SO ORDERED.

Order Date:



                                                                            DudleyH. Bowen,Jr.
EffectiveDate: November1.2015                                               United StatesDistrict Judge
                     (if diiv r ent fr an or der dat e)                                            Pruted name and rrrle
